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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                 )
UNITED STATES OF AMERICA,                        )
                                                 )
                 Plaintiff,                      )
                                                 )
        v.                                       )       Criminal Action No. 21-cr-259 (TSC)
                                                 )
MARK K. PONDER,                                  )
                                                 )
                 Defendant.                      )
                                                 )

                        ORDER ON COVID POLICIES AND PROCEDURES

           The following procedures and restrictions will govern all in-person, pre-trial proceedings in

this case, consistent with the practices outlined in Appendices 7 and 8 of the Continuity of

Operations Plan During the COVID-19 Pandemic. See CONTINUITY OF OPERATIONS PLAN DURING

THE COVID-19 PANDEMIC          (July 15, 2020) Appendix 7 and Appendix 8 (updated August 10,

2021). 1

           1. Persons seeking to enter the courtroom except for criminal defendants and lay

              persons who have been subpoenaed to appear and testify in proceedings must

              have been fully vaccinated against the COVID-19 virus before they are permitted

              to enter. Persons not vaccinated, including criminal defendants and lay persons

              who have been subpoenaed to appear and testify in proceedings, must have proof

              of a negative COVID-19 test administered no more than 72 hours prior to seeking

              entry. All participants and attendees must check-in with the Courtroom Deputy

              Clerk Tim Bradley upon arrival at the courtroom and confirm:

                  a) that they are fully vaccinated or

                  b) that they meet both of the following criteria:

                          i. they are a criminal defendant or lay person who has been
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    https://www.dcd.uscourts.gov/continuity-operations-plan-covid-19-pandemic
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                        subpoenaed to appear and testify in the proceedings; and

                    ii. they have proof of a negative COVID-19 test administered no
                        more than 72 hours prior to seeking entry.

      2. All participants must wear face masks covering the mouth and nose throughout the

         entire proceeding, except as directed by the court.




Date: October 14, 2021


                                           Tanya S. Chutkan
                                           TANYA S. CHUTKAN
                                           United States District Judge
